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                           EXHIBIT “E”
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Engie Tapia

From:                          Jocelyn Engracio <jocelyn@levylawgroup.com>
Sent:                          Friday, October 19, 2018 2:05 PM
To:                            Dania Brady
Cc:                            Engie Tapia; Lourdes Artigas; Michael Metta; Lauren Levy; Susan Catania Odess
Subject:                       RE: St. Louis Condominium Association v. Rockhill Insurance Company, Case No.: 18-
                               cv-21365-CIV

Importance:                    High



Good afternoon Dania and Happy Friday.
Please note that Ms. Levy and Mr. Pesak are available for his deposition in New York on 11/27 at 1:00 p.m. or
11/28 at 9:00 a.m. I am still waiting to hear from Mr. Millard regarding his availability in November and will
get back to you once I hear from him.
Please let me know at your earliest convenience which of these dates is good for Ms. Odess.

Thank you.

JOCELYN ENGRACIO, FRP
Paralegal
Levy Law Group
3399 Ponce de Leon Blvd.
Suite 202
Coral Gables, Florida 33134
Tel. (305) 444-1500
Fax (305) 503-9295
Jocelyn@levylawgroup.com
From: Dania Brady [mailto:dbrady@srhl-law.com]
Sent: Wednesday, October 17, 2018 4:13 PM
To: Susan Catania Odess; Lauren Levy
Cc: Engie Tapia; Jocelyn Engracio; Lourdes Artigas; Michael Metta
Subject: RE: St. Louis Condominium Association v. Rockhill Insurance Company, Case No.: 18-cv-21365-
CIV
Good afternoon,
This will be our second email today to follow up on dates for the depositions we have requested.
Kindly respond so we can secure dates.
Thank you.
Dania Brady
Legal Assistant to:
Susan C. Odess and Daniel Jovanov
Siegfried, Rivera, Hyman, Lerner,
De La Torre, Mars & Sobel, P.A.
201 Alhambra Circle, Eleventh Floor
Coral Gables, FL 33134
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From: Dania Brady
Sent: Wednesday, October 17, 2018 10:15 AM
To: Susan Catania Odess; Lauren Levy
Cc: Engie Tapia; Jocelyn Engracio; Lourdes Artigas; Michael Metta
Subject: RE: St. Louis Condominium Association v. Rockhill Insurance Company, Case No.: 18-cv-21365-
CIV
Good morning,
We are following up on our email below requesting your availability to set the depositions requested. Kindly
send us dates.
Thank you.
Dania Brady
Legal Assistant to:
Susan C. Odess and Daniel Jovanov
Siegfried, Rivera, Hyman, Lerner,
De La Torre, Mars & Sobel, P.A.
201 Alhambra Circle, Eleventh Floor
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From: Dania Brady
Sent: Tuesday, October 16, 2018 2:58 PM
To: Susan Catania Odess; Lauren Levy
Cc: Engie Tapia; Jocelyn Engracio; Lourdes Artigas; Michael Metta
Subject: RE: St. Louis Condominium Association v. Rockhill Insurance Company, Case No.: 18-cv-21365-
CIV
Good afternoon,
We have obtained the availability for Coffman for December 5, 2018 and Erdozain for December 7, 2018.
Please confirm your availability.
Thank you.
Dania Brady
Legal Assistant to:
                                                                                                                          2
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Susan C. Odess and Daniel Jovanov
Siegfried, Rivera, Hyman, Lerner,
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From: Dania Brady
Sent: Tuesday, October 16, 2018 2:29 PM
To: Susan Catania Odess; Lauren Levy
Cc: Engie Tapia; Jocelyn Engracio; Lourdes Artigas; Michael Metta
Subject: RE: St. Louis Condominium Association v. Rockhill Insurance Company, Case No.: 18-cv-21365-
CIV
Good afternoon,
Please note we are working on obtaining dates for our experts but we can offer you December 3, 2018 at 11am
for Mark Mintz. Also, please advise if you have obtained dates for Paul Millard and Stephen Pesak.
Thank you.
Dania Brady
Legal Assistant to:
Susan C. Odess and Daniel Jovanov
Siegfried, Rivera, Hyman, Lerner,
De La Torre, Mars & Sobel, P.A.
201 Alhambra Circle, Eleventh Floor
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message and permanently deleting the original and any copy of this e-mail and any printout thereof.
From: Susan Catania Odess
Sent: Friday, October 12, 2018 7:37 PM
To: Lauren Levy

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Cc: Engie Tapia; Dania Brady; Jocelyn Engracio; Lourdes Artigas; Michael Metta
Subject: Re: St. Louis Condominium Association v. Rockhill Insurance Company, Case No.: 18-cv-21365-CIV
Lauren,
There are other dates in the month of October, November, and December. It is unreasonable that you have only
provided me one option for each of those individuals. My office advised I am unavailable on the two dates.

Susie Odess, Esq.
Sent from my iPhone

On Oct 12, 2018, at 7:28 PM, Lauren Levy <lauren@levylawgroup.com> wrote:

       Susan, we already advised that Paul Millard is out of the country the entire
       month of December and that Bert Davis is scheduled for surgery. These were
       the dates provided prior to the discovery cut-off.


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       -----Original Message-----
       From: Susan Catania Odess [mailto:sodess@srhl-law.com]
       Sent: Friday, October 12, 2018 7:23 PM
       To: Lauren Levy <lauren@levylawgroup.com>
       Cc: Engie Tapia <etapia@srhl-law.com>; Dania Brady <dbrady@srhl-law.com>;
       Jocelyn Engracio <jocelyn@levylawgroup.com>; Lourdes Artigas
       <lourdes@levylawgroup.com>; Michael Metta <michael@levylawgroup.com>
       Subject: Re: St. Louis Condominium Association v. Rockhill Insurance
       Company, Case No.: 18-cv-21365-CIV

       I was provided two dates for both of those individuals (one date for each
       exponent) and I do not have either available. Please procure additional
       dates.


       Susie Odess, Esq.
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   Sent from my iPhone

   On Oct 12, 2018, at 7:14 PM, Lauren Levy
   <lauren@levylawgroup.com<mailto:lauren@levylawgroup.com>> wrote:

   My understanding is we have provided dates for Mr. Davis and Mr. Millard.
   These are the dates we have at this time.


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   From: Engie Tapia [mailto:etapia@srhl-law.com<mailto:etapia@srhl-law.com>]
   Sent: Friday, October 12, 2018 4:05 PM
   To: Dania Brady <dbrady@srhl-law.com<mailto:dbrady@srhl-law.com>>; 'Jocelyn
   Engracio' <jocelyn@levylawgroup.com<mailto:jocelyn@levylawgroup.com>>
   Cc: Lourdes Artigas
   <lourdes@levylawgroup.com<mailto:lourdes@levylawgroup.com>>; Michael Metta
   <michael@levylawgroup.com<mailto:michael@levylawgroup.com>>; Susan Catania
   Odess <sodess@srhl-law.com<mailto:sodess@srhl-law.com>>; Lauren Levy
   <lauren@levylawgroup.com<mailto:lauren@levylawgroup.com>>
   Subject: RE: St. Louis Condominium Association v. Rockhill Insurance
   Company, Case No.: 18-cv-21365-CIV

   Good afternoon, please provide dates of availability for the deposition of
   Paul Millard and Stephen Pesak for the end of October/early December.

   Thank you.

   From: Dania Brady
   Sent: Wednesday, October 10, 2018 9:43 AM
   To: 'Jocelyn Engracio'
   Cc: Lourdes Artigas; Michael Metta; Susan Catania Odess; Engie Tapia; Lauren
   Levy
   Subject: RE: St. Louis Condominium Association v. Rockhill Insurance
   Company, Case No.: 18-cv-21365-CIV
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   Good morning,

   Ms. Odess has limited availability in November. We just gave out November
   29-30 in another case and if they are not accepted, we can offer these two
   dates but if not we will have to go into December.

   Thank you.

   Dania Brady
   Legal Assistant to:
   Susan C. Odess and Daniel Jovanov
   Siegfried, Rivera, Hyman, Lerner,
   De La Torre, Mars & Sobel, P.A.
   201 Alhambra Circle, Eleventh Floor
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   From: Jocelyn Engracio
   [mailto:jocelyn@levylawgroup.com<mailto:jocelyn@levylawgroup.com>]
   Sent: Tuesday, October 09, 2018 4:54 PM
   To: Dania Brady
   Cc: Lourdes Artigas; Michael Metta; Susan Catania Odess; Engie Tapia; Lauren
   Levy
   Subject: RE: St. Louis Condominium Association v. Rockhill Insurance
   Company, Case No.: 18-cv-21365-CIV
   Importance: High

   Good afternoon Dania,
   Please be advised that Mr. Millard is available for deposition on November
   8, 2018 to take place in Tampa, Florida. Also, Mr. Davis is available for
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   deposition on November 7, 2018 in Miami, Florida. Please advise if you are
   agreeable to splitting the cost for Mr. Davis' travel expenses so that his
   deposition can to take place in Miami. Please note these dates will remain
   open through noon on Friday, October 12, 2018.
   Should you have any questions regarding the foregoing, please do not
   hesitate to contact us.

   JOCELYN ENGRACIO, FRP
   Paralegal
   Levy Law Group
   3399 Ponce de Leon Blvd.
   Suite 202
   Coral Gables, Florida 33134
   Tel. (305) 444-1500
   Fax (305) 503-9295
   Jocelyn@levylawgroup.com<mailto:Jocelyn@levylawgroup.com>

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